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IN THE UNITED STATES DISTRICT COURT .
FoR THE wEsTERN DISTRICT oF TENNESSEE 95 AUG 23 pH 2: 18

WESTERN DIVISION

 

 

MARY ANN LAZAR,
Plaintiff,

vs. No. 03-2868 BP

EZPAWN TENNESSEE, INC.,

Defendant.

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ORDER GRANTING DEFENDANT'S MOTION FOR BIFURCATED TRIAL

 

Before the court is defendant E.Z. Pawn Tennessee, Inc.’s
(“E.Z. Pawn”) Motion For Bifurcated Trial, filed July 22, 2005 (dkt
#21). In this diversity action, Lazar alleges conversion of her
personal property by E.Z. Pawn, specifically, her bracelet. Lazar
has made a jury demand, and in her complaint, seeks $150,000 in
compensatory and punitive damages. In the present motion, E.Z.
Pawn requests that issues relating' to compensatory' liability,
compensatory damages, and punitive liability be considered by the
jury separate and apart from the jury’s consideration of the amount
of punitive damages. Plaintiff Mary Ann Lazar filed her response
in opposition on August l, 2005. The motion was referred to the
United States Magistrate Judge for determination.

In the court’s review of the record, including the parties’
pleadings and summary judgment briefs, it appears that they do not

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dispute that this conversion action arises under Tennessee law. In
Tennessee, in a trial where punitive damages are sought, the court
upon motion of the defendant must bifurcate the trial. During the
first phase, the factfinder shall determine liability for
compensatory and punitive damages, and the amount of compensatory
damages. If the factfinder finds a defendant liable for punitive
damages, the determination of the amount of such damages shall then
be determined in a separate proceeding. Hodqes v. S.C. Toof & Co.,
833 S.W.2d 896, 901 (Tenn. 1992); see also Culbreath v. First
Tennessee Bank National Assoc., 44 S.W.3d 518, 527 (Tenn.
2001)(citing Hodges).

In deciding this motion, however, this court looks to Fed. R.
Civ. P. 42(b). See Oulds v. Principal Mutual Life Ins. Co., 6 F.Bd
1431, 1435 (lOth Cir. l993)(“bifurcation of trials is permissible
in federal court even when such procedure is contrary to state
law.”); Gettv Petroleum Corp. v. Island Transp. Corp., 862 F.2d 10,
14-15 (2d Cir. lBBB)(permissible not to bifurcate liability and
punitive damage issues despite state law requiring bifurcation};
Sellers v. Baisier, 792 F.2d 690, 694 (7th Cir. 1986)(“Rule 42 may
be applied in diversity cases [to bifurcate the issues of liability
and damage] even though the state law employed to determine the
substantive issues in the case prohibits bifurcated trials.”);
Rosales v. Honda Motor Co., 726 F.2d 259, 261-62 (5th Cir.
1984)(federal court trying a diversity case is not required to

follow state law in matters relating to bifurcation of trial).

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Rule 42(b) authorizes the court to order a separate trial of
any claim when separation is in the interest of judicial economy,
will further the parties’ convenience, or will prevent undue
prejudice. gee Fed. R. Civ. P. 42(b). The decision to bifurcate
is committed to the sound discretion of the trial court. Moss v.
Associated Transp., lnc., 344 F.2d 23, 25 (6th Cir. 1965); see also

Hirst v. Gertzen, 676 F.2d 1252, 1261 (9th Cir. 1982). Applying

 

Rule 42(b) to the present case, the court concludes that
bifurcation of the amount of punitive damages from other liability
and compensatory damages issues will further judicial economy and
will prevent undue prejudice to E.Z. Pawn. See Thomas v. Allen-
Stone Boxes, Inc., 925 F.Supp. 1316 (W.D. Tenn. 1995)(McCalla,
J.)(granting motion to bifurcate). Obviously, if the jury
concludes that E.Z. Pawn is not liable for any punitive damages,
the court, the parties and the jury will not have to needlessly
deal with proceedings relating to the amount of punitive damages.
Moreover, a bifurcated trial will avoid any undue prejudice to E.Z.
Pawn that might arise from the jury hearing evidence relating to
E.Z. Pawn’s financial condition during the liability phase. As a
final matter, although this court is not bound by Tennessee law in
determining whether to bifurcate the trial, the court notes that
its decision to bifurcate the portion of the trial relating to the
amount of punitive damages is consistent with the reasoning in

Hodges.

For these reasons, the motion to bifurcate is GRANTED.

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TU "M. PHAM
United States Magistrate Judge

I'I' IS SO ORDERED.

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This notice confirms a copy of the document docketed as number 38 in
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Honorable J. Breen
US DISTRICT COURT

